

ALP, Inc. v Moskowitz (2021 NY Slip Op 03398)





ALP, Inc. v Moskowitz


2021 NY Slip Op 03398


Decided on June 01, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 01, 2021

Before: Kern, J.P., Moulton, González, Scarpulla, JJ. 


Index No. 652326/19 Appeal No. 13986 Case No. 2020-03458 

[*1]ALP, Inc., et al., Plaintiffs-Respondents,
vLawrence Moskowitz et al., Defendants, Adam Max, Defendant-Appellant. Lawrence L. Flynn, etc., Nonparty Respondent.


Capetola &amp; Divins, P.C., Williston Park (Robert P. Johnson of counsel), for appellant.
Schlam, Stone &amp; Dolan LLP, New York (Jeffrey M. Eilender of counsel), for respondents.



Appeal from order, Supreme Court, New York County (Nancy M. Bannon, J.), entered May 28, 2020, which, to the extent appealed from as limited by the briefs, granted plaintiffs' request for a temporary restraining order preventing a shareholder's meeting from occurring, unanimously dismissed, without costs.
By order entered November 24, 2020 (2020 NY Slip Op 75224[U] [1st Dept 2020]), this Court granted the branch of defendant Adam Max's motion seeking review of the TRO pursuant to CPLR 5704 and held "upon such review, the request to vacate, limit or modify said orders is denied." The Court otherwise denied defendant's motion, including his request for leave to appeal, to which we adhere.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 1, 2021








